            Entered on Docket June 3, 2011




 1      ROUTH CRABTREE OLSEN, P.S.                       Honorable Judge Timothy W. Dore
        13555 SE 36TH ST., SUITE 300                     Chapter 7
 2                                                       Hearing Location: Seattle, Courtroom 8106
        BELLEVUE, WA 98006
        TELEPHONE (425) 458-2121                         Hearing Date: June 3, 2011
 3                                                       Hearing Time: 9:30 am
        FACSIMILE    (425) 458-2131                      Response Date: May 27, 2011
 4

 5                               IN THE UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF WASHINGTON
 6
       In re:                                          No.: 09-23053-TWD
 7

 8
       Rosemary Ann Ferreira                           ORDER APPROVING LOAN MODIFICATION
       Carlos A Ferreira                               WITH Citibank, N.A., as trustee for WaMu Series
 9                                                     2007-HE3 Trust, through its servicing agent
                                              Debtors. JPMorgan Chase Bank, National Association
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11              THIS matter having come before the Court upon the Motion of the Creditor and the Court
12     having reviewed the Motion, and having reviewed the files and records herein, deeming itself advised
13     in the premises, it is therefore ORDERED, ADJUDGED, and DECREED as follows:
14              1. The Loan Modification Agreement between Citibank, N.A., as trustee for WaMu Series
15                 2007-HE3 Trust, through its servicing agent JPMorgan Chase Bank, National Association
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                   and Debtor is approved.
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                2. Debtor may sign or otherwise executed any all documents related to consummation of the
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                   proffered loan modification.
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                                                                         BELLEVUE, WA 98006
                                                          TELEPHONE (425) 458-2121  FACSIMILE (425) 458-2131

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 2             3. Upon completion of the loan modification, the Debtor, or Creditor, shall provide a
 3                 complete copy of the modified loan note and related documents to Debtor’s attorney and
 4                 to the Chapter 7 Trustee.
 5

 6             Dated this ____ day of                     , 2011
 7

 8
                                                          U.S. Bankruptcy Judge
       Presented By:
 9
       By: _/s/ Melissa Romeo_____________
10     Melissa Williams Romeo, WSBA# 40644
       Attorney for Creditor
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